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               IN THE UNITED STATES DISTRICT COURT
            FOR THE EASTERN DISTRICT OF PENNSYLVANIA


KEINO JOHNSON,                        )
                                      )
            Plaintiff,                )
                                      )         CIVIL ACTION
vs.                                   )
                                      )         FILE No. 18-535
DREAM CREAM, INC., d/b/a              )
HAAGEN DAZS, GREEN BASIL              )
RESTAURANT LLC, SUBASH                )
B. PATEL and RANAK S. PATEL           )
                                      )
            Defendants.               )

                           AMENDED COMPLAINT

      COMES NOW, KEINO JOHNSON, by and through the undersigned

counsel, and files this, his Amended Complaint against Defendants, DREAM

CREAM, INC., d/b/a HAAGEN DAZS, GREEN BASIL RESTAURANT LLC,

SUBASH B. PATEL and RANAK S. PATEL, pursuant to the Americans with

Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”) and the ADA’s Accessibility

Guidelines, 28 C.F.R. Part 36 (“ADAAG”). In support thereof, Plaintiff

respectfully shows this Court as follows:

                                JURISDICTION

      1.    This Court has original jurisdiction over the action pursuant to 28

U.S.C. §§ 1331 and 1343 for Plaintiff’s claims pursuant to 42 U.S.C. § 12181, et

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seq., based upon Defendants’ failure to remove physical barriers to access and

violations of Title III of the ADA.

                                      PARTIES

       2.     Plaintiff KEINO JOHNSON (hereinafter “Plaintiff”) is, and has been

at all times relevant to the instant matter, a natural person residing in Philadelphia,

Pennsylvania (Philadelphia County).

       3.     Plaintiff is disabled as defined by the ADA.

       4.      Plaintiff is required to traverse in a wheelchair and is substantially

limited in performing one or more major life activities, including but not limited

to: walking, standing, grabbing, grasping and/or pinching.

       5.     Plaintiff uses a wheelchair for mobility purposes.

       6.     Defendant DREAM CREAM, INC., d/b/a HAAGEN DAZS

(hereinafter “DREAM CREAM, INC., d/b/a HAAGEN DAZS”) is a Pennsylvania

domestic company, and transacts business in the state of Pennsylvania and within

this judicial district.

       7.     DREAM CREAM, INC., d/b/a HAAGEN DAZS operates a business

located at 240 South Street, Philadelphia, PA 19147, doing business as “Haagen

Dazs Ice Cream Shoppe,” referenced herein as the “Facility.”

       8.     DREAM CREAM, INC., d/b/a HAAGEN DAZS may be properly


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served with process via its Owner for service, to wit: C.H.K. Desserts Inc., 242

South Street, Philadelphia, PA 19147 (Philadelphia County).

       9.     DREAM CREAM, INC., d/b/a HAAGEN DAZS is the lessee (or sub-

lessee) of the real property and improvements that are the subject of this action.

       10.    GREEN BASIL RESTAURANT LLC (hereinafter “GREEN BASIL

RESTAURANT LLC”) is a Pennsylvania limited liability company, and transacts

business in the state of Pennsylvania and within this judicial district.

       11.    GREEN BASIL RESTAURANT LLC operates a business located at

240 South Street, Philadelphia, PA         19147, doing business as “Green Basil

Restaurant,” referenced herein as the “Facility.”

       12.    GREEN BASIL RESTAURANT LLC may be properly served with

process via its President for service, to wit: Charles Tishman, 390 West End

Avenue, New York, NY 10024 (New York County).

       13.    GREEN BASIL RESTAURANT LLC is the lessee (or sub-lessee) of

the real property and improvements that are the subject of this action

       14.    Defendant SUBASH B. PATEL (hereinafter “SUBASH B. PATEL”)

is an individual, and transacts business in the state of Pennsylvania and within this

judicial district.

       15.    SUBASH B. PATEL is the owner and/or operator of the real property


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and improvements that the Facility(ies) is/are situated upon and that is the subject

of this action, referenced herein as the “Property.”

       16.    SUBASH B. PATEL may be properly served with process for service,

to wit: Subash B. Patel, 1175 Slack Road, Newtown, PA 18940-2501 (Bucks

County).

       17.    RANAK S. PATEL (hereinafter “RANAK S. PATEL”) is an

individual, and transacts business in the state of Pennsylvania and within this

judicial district.

       18.    RANAK S. PATEL is the owner and/or operator of the real property

and improvements that the Facility(ies) is/are situated upon and that is the subject

of this action, referenced herein as the “Property.”

       19.    RANAK S. PATEL may be properly served with process for service,

to wit: Ranak S. Patel, 1175 Slack Road, Newtown, PA 18940-2501 (Bucks

County).

                            FACTUAL ALLEGATIONS

       20.    On or about November, 2017, Plaintiff was a customer at Haagen

Dazs Ice Cream and Green Basil Thai Cuisine and also attempted to utilize the

restroom at the Facility.

       21.    Plaintiff lives in the near vicinity of the Facility and Property.


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      22.    Plaintiff’s access to the business(es) located 242 South Street,

Philadelphia, PA 19147-230, Pennsylvania County Property Appraiser’s parcel

number OPA 871012000 (“the Property,”) and/or full and equal enjoyment of the

goods,   services,   foods,   drinks,   facilities,   privileges,   advantages   and/or

accommodations offered therein were denied and/or limited because of his

disabilities, and he will be denied and/or limited in the future unless and until

Defendants are compelled to remove the physical barriers to access and correct the

ADA violations that exist at the Facility and Property, including those set forth in

this Amended Complaint.

      23.    Plaintiff has visited the Facility at least once before and intends on

revisiting the Facility once the Facility is made accessible.

      24.    Plaintiff intends to revisit the Facility and Property to purchase goods

and/or services.

      25.    Plaintiff travelled to the Facility and Property as a customer,

encountered the barriers to access at the Facility and Property that are detailed in

this Amended Complaint, engaged those barriers, suffered legal harm and legal

injury, and will continue to suffer such harm and injury as a result of the illegal

barriers to access present at the Facility and Property.

      26.    Plaintiff resides one-half mile from the Facility and Property.


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                               COUNT I
                   VIOLATIONS OF THE ADA AND ADAAG

      27.     On July 26, 1990, Congress enacted the Americans with Disabilities

Act 42 U.S.C. § 12101 et seq.

      28.     Congress found, among other things, that:

      (i)     some 43,000,000 Americans have one or more physical or
              mental disabilities, and this number is increasing as the
              population as a whole is growing older;

      (ii)    historically, society has tended to isolate and segregate
              individuals with disabilities, and, despite some improvements,
              such forms of discrimination against individuals with
              disabilities continue to be a serious and pervasive social
              problem;

      (iii)   discrimination against individuals with disabilities persists in
              such critical areas as employment, housing public
              accommodations, education, transportation, communication,
              recreation, institutionalization, health services, voting, and
              access to public services;

      (iv)    individuals with disabilities continually encounter various
              forms of discrimination, including outright intentional
              exclusion, the discriminatory effects of architectural,
              transportation, and communication barriers, overprotective
              rules and policies, failure to make modifications to existing
              facilities and practices, exclusionary qualification standards and
              criteria, segregation, and relegation to lesser service, programs,
              activities, benefits, jobs, or other opportunities; and

      (v)     the continuing existence of unfair and unnecessary
              discrimination and prejudice denies people with disabilities the
              opportunity to compete on an equal basis and to pursue those
              opportunities for which our free society is justifiably famous,

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             and costs the United States billions of dollars in unnecessary
             expenses resulting from dependency and nonproductivity.

42 U.S.C. § 12101(a)(1) - (3), (5) and (9).

      29.    Congress explicitly stated that the purpose of the ADA was to:

      (i)    provide a clear and comprehensive national mandate for the
             elimination of discrimination against individuals with
             disabilities;

      (ii)   provide a clear, strong, consistent, enforceable standards
             addressing discrimination against individuals with disabilities;
             and

             *****

      (iv)   invoke the sweep of congressional authority, including the
             power to enforce the fourteenth amendment and to regulate
             commerce, in order to address the major areas of discrimination
             faced day-to-day by people with disabilities.

42 U.S.C. § 12101(b)(1)(2) and (4).

      30.    The    congressional     legislation   provided   places   of      public

accommodation one and a half years from the enactment of the ADA to implement

its requirements.

      31.    The effective date of Title III of the ADA was January 26, 1992 (or

January 26, 1993 if a defendant has 10 or fewer employees and gross receipts of

$500,000 or less). 42 U.S.C. § 12181; 28 C.F.R. § 36.508(a).

      32.    The Facility is a public accommodation and service establishment.


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      33.    The Property is a public accommodation and service establishment.

      34.    Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991,

the Department of Justice and Office of Attorney General promulgated federal

regulations to implement the requirements of the ADA. 28 C.F.R. Part 36.

      35.    Public accommodations were required to conform to these regulations

by January 26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer

employees and gross receipts of $500,000 or less). 42 U.S.C. § 12181 et seq.; 28

C.F.R. § 36.508(a).

      36.    The Facility must be, but is not, in compliance with the ADA and

ADAAG.

      37.    The Property must be, but is not, in compliance with the ADA and

ADAAG.

      38.    Plaintiff has attempted to, and has to the extent possible, accessed the

Facility and the Property in his capacity as a customer of the Facility and Property,

but could not fully do so because of his disabilities resulting from the

physical barriers to access, dangerous conditions and ADA violations that exist at

the Facility and Property that preclude and/or limit his access to the Facility and

Property and/or the goods, services, facilities, privileges, advantages and/or

accommodations offered therein, including those barriers, conditions and ADA


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violations more specifically set forth in this Amended Complaint.

      39.    Plaintiff intends to visit the Facility and Property again in the very

near future as a customer in order to utilize all of the goods, services, facilities,

privileges, advantages and/or accommodations commonly offered at the Facility

and Property, but will be unable to fully do so because of his disability and the

physical barriers to access, dangerous conditions and ADA violations that exist at

the Facility and Property that preclude and/or limit his access to the Facility and

Property and/or the goods, services, facilities, privileges, advantages and/or

accommodations offered therein, including those barriers, conditions and ADA

violations more specifically set forth in this Amended Complaint.

      40.    Defendants have discriminated against Plaintiff (and others with

disabilities) by denying his access to, and full and equal enjoyment of the goods,

services, facilities, privileges, advantages and/or accommodations of the Facility

and Property, as prohibited by, and by failing to remove architectural barriers as

required by, 42 U.S.C. § 12182(b)(2)(A)(iv).

      41.    Defendants will continue to discriminate against Plaintiff and others

with disabilities unless and until Defendants are compelled to remove all

physical barriers that exist at the Facility and Property, including those specifically

set forth herein, and make the Facility and Property accessible to and usable by


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Plaintiff and other persons with disabilities.

      42.    A specific list of unlawful physical barriers, dangerous conditions and

ADA violations which Plaintiff experienced and/or observed that precluded and/or

limited Plaintiff’s access to the Facility and Property and the full and equal

enjoyment of the goods, services, facilities, privileges, advantages and

accommodations of the Facility and Property include, but are not limited to:

      (a)    ACCESSIBLE ELEMENTS:

      (i)    There are changes in level in the Property and/or Facility exceeding ½

             (one-half) inch that are not ramped in violation of section 303.4 of the

             2010 ADAAG standards. Specifically, there is an approximately 5

             (five) inch vertical rise at the entrance to Haagen-Dazs that is not

             ramped, thus rendering the Haagen-Dazs inaccessible. This violation

             made it dangerous and difficult for Plaintiff to access the units of the

             Property.

      (ii)   The doorway of the accessible entrance to Haagen-Dazs is not level in

             violation of section 404.2.4.4 of the 2010 ADAAG standards. This

             violation made it difficult for Plaintiff to access the units of the

             Property.




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(iii)   Haagen-Dazs lacks at least 5% (five percent) of the exterior dining

        surfaces provided for consumption of food or drink that comply with

        section 902.2 of the 2010 ADAAG standards, requiring appropriate

        knee and toe clearance complying with section 306 of the 2010

        ADAAG standards, positioned for a forward approach, in violation of

        section 226.1 of the 2010 ADAAG standards.

(iv)    There are changes in level in the Property and/or Facility exceeding ½

        (one-half) inch that are not ramped in violation of section 303.4 of the

        2010 ADAAG standards. Specifically, there is an approximately 5

        (five) inch vertical rise at the entrance to Green Basil Thai Cuisine

        that is not ramped, thus rendering the Green Basil Thai Cuisine

        inaccessible. This violation made it dangerous and difficult for

        Plaintiff to access the units of the Property.

(v)     The doorway of the accessible entrance to Green Basil Thai Cuisine is

        not level in violation of section 404.2.4.4 of the 2010 ADAAG

        standards. This violation made it difficult for Plaintiff to access the

        units of the Property.

(vi)    Due to a partition just past the accessible entrance, the interior of

        Green Basil Thai Cuisine has walking surfaces lacking a 36 (thirty-


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           six) inch clear width in violation of section 403.5.1 of the 2010

           ADAAG standards. This violation made it difficult for Plaintiff to

           properly utilize public features at Green Basil Thai Cuisine.

    (vii) Due to the accessible barrier present at the accessible entrance, the

           Facility lacks at least one accessible route provided within the site to

           the public streets and sidewalks in violation of section 206.2.1 of the

           2010 ADAAG standards.

    (viii) The Facility lacks an access route from site arrival points such as the

           public streets and sidewalks to the accessible entrance in violation of

           section 206.2.1 of the 2010 ADAAG standards.

    (ix)   There is not at least one accessible entrance to each tenant space in the

           building that complies with section 404 of the 2010 ADAAG

           standards which is a violation of section 206.4.5 of the 2010 ADAAG

           Standards.

    (x)    Defendants fails fail to adhere to a policy, practice and procedure to

           ensure that all facilities are readily accessible to and usable by

           disabled individuals.

GREEN BASIL THAI CUISINE RESTROOMS




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(i)     The Facility lacks restroom signage in compliance with sections 216.8

        and 703 of the 2010 ADAAG standards. This made it difficult for

        Plaintiff to locate accessible restroom facilities.

(ii)    The restrooms lack proper door hardware in violation of section

        404.2.7 of the 2010 ADAAG standards. This made it difficult for

        Plaintiff to utilize the restroom facilities.

(iii)   The toilet lacks adequate clear floor space in violation of 606.2 of the

        2010 ADAAG standards. This made it difficult for the Plaintiff to

        safely utilize the restroom facilities.

(iv)    The restrooms in the Facility have grab bars adjacent to the commode

        which are not in compliance with section 604.5 of the 2010 ADAAG

        standards as the rear bar is too short. This made it difficult for Plaintiff

        to safely utilize the restroom facilities.


(v)     Restrooms have a sink with inadequate knee and toe clearance in

        violation of section 306 of the 2010 ADAAG standards. This made it

        difficult for Plaintiff to safely utilize the restroom facilities.

(vi)    The controls on the faucets require pinching and turning of the wrists

        in violation of section 309.4 of the 2010 ADAAG standards. This

        made it difficult for Plaintiff to utilize the restroom facilities.

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      (vii) The door of the restroom entrance of the Facility lacks a proper

             minimum maneuvering clearance in violation of section 404.2.4 of the

             2010 ADAAG standards. This made it difficult for Plaintiff to safely

             utilize the restroom facilities.


      43.    Due to the barriers to access present at the Property and Facility,

despite best efforts and an intent to purchase items, Plaintiff was unable to access

the Property and Facility due to his disability.

      44.    The violations enumerated above may not be a complete list of the

barriers, conditions or violations encountered by Plaintiff and/or which exist at the

Facility and Property.

      45.    Plaintiff requires an inspection of Facility and Property in order to

determine all of the discriminatory conditions present at the Facility and Property

in violation of the ADA.

      46.    The removal of the physical barriers, dangerous conditions and ADA

violations alleged herein is readily achievable and can be accomplished and carried

out without significant difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42

U.S.C. § 12181(9); 28 C.F.R. § 36.304.

      47.     All of the violations alleged herein are readily achievable to modify

to bring the Facility and Property into compliance with the ADA.

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      48.    Upon information and good faith belief, the removal of the physical

barriers and dangerous conditions present at the Facility and Property is readily

achievable because the nature and cost of the modifications are relatively low.

      49.    Upon information and good faith belief, the removal of the physical

barriers and dangerous conditions present at the Facility and Property is readily

achievable because Defendants have the financial resources to make the necessary

modifications.

      50.    Upon information and good faith belief, the Facility and Property

have been altered since 2010.

      51.    In instances where the 2010 ADAAG standards do not apply, the 1991

ADAAG standards apply, and all of the alleged violations set forth herein can be

modified to comply with the 1991 ADAAG standards.

      52.    Plaintiff is without adequate remedy at law, is suffering irreparable

harm, and reasonably anticipates that he will continue to suffer irreparable harm

unless and until Defendants are required to remove the physical barriers, dangerous

conditions and ADA violations that exist at the Facility and Property, including

those alleged herein.

      53.    Plaintiff’s requested relief serves the public interest.

      54.    The benefit to Plaintiff and the public of the relief outweighs any


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resulting detriment to Defendants.

      55.   Plaintiff’s counsel is entitled to recover its reasonable attorney’s fees

and costs of litigation from Defendants pursuant to 42 U.S.C. §§ 12188 and 12205.

      56.   Pursuant to 42 U.S.C. § 12188(a), this Court is provided authority to

grant injunctive relief to Plaintiff, including the issuance of an Order directing

Defendants to modify the Facility and Property to the extent required by the ADA.

      WHEREFORE, Plaintiff prays as follows:

      (a)   That the Court find Defendant, DREAM CREAM, INC., d/b/a

            HAAGEN DAZS, in violation of the ADA and ADAAG;

      (b)   That the Court find Defendant, GREEN BASIL RESTAURANT

            LLC, in violation of the ADA and ADAAG;

      (c)   That the Court find Defendant, SUBASH B. PATEL, in violation of

            the ADA and ADAAG;

      (d)   That the Court find Defendant, RANAK S. PATEL, in violation of the

            ADA and ADAAG

      (e)   That the Court issue a permanent injunction enjoining Defendants

            from continuing their discriminatory practices;

      (f)   That the Court issue an Order requiring Defendants to (i) remove the

            physical barriers to access and (ii) alter the subject Facility to make it


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      readily accessible to and useable by individuals with disabilities to the

      extent required by the ADA;

(g)   That the Court award Plaintiff his reasonable attorneys' fees, litigation

      expenses and costs; and

(h)   That the Court grant such further relief as just and equitable in light of

      the circumstances.

                                Dated: July 11, 2018.

                                Respectfully submitted,

                                /s/Eric Brauer
                                Eric Brauer, Esq.
                                Pennsylvania Bar No. 43624
                                Brauer & Schapiro, LLC
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        CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 5.1

      The undersigned hereby certifies that the foregoing document has been

prepared in accordance with the font type and margin requirements of Local Rule

5.1 of the Eastern District of Pennsylvania, using a font type of Times New Roman

and a point size of 14.

                                     /s/Eric Brauer
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